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                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                    CORPUS CHRISTI DIVISION

KRISTA MICHELLE RAMOS,                           §
Individually, and as Next of Friend of           §
JR, a minor, and as Representative of            §
the Estates of her deceased Children             §
JMR and JIR, minors                              §
                                                 §
        Plaintiffs                               §             Case No. 2:21-cv-00099
                                                 §
V.                                               §
                                                 §
STELLANTIS NORTH AMERICA f/k/a                   §
FCA US LLC, f/k/a CHRYSLER                       §
GROUP, LLC                                       §
                                                 §
and                                              §
                                                 §
BABY TREND, INC.                                 §
                                                 §
        Defendants                               §

                 PLAINTIFFS’ ORIGINAL PETITION AND JURY DEMAND

        NOW COME Plaintiffs, Krista Michelle Ramos, individually and as Next of Friend of JR,

and on behalf of the Estates of her deceased children, JMR and JIR, minors (hereinafter

“Plaintiffs” and/or “Decedent(s)”), by and through their counsel, Griffin Purnell LLC, and for

their cause of action against Defendants, Stellantis North America f/k/a FCA US LLC f/k/a

Chrysler Group, LLC and Baby Trend, Inc. states to the Court as follows:

                                         I.     INTRODUCTION

        1.       This case seeks justice for 10-month-old twins JMR and JIR, who on March 6,

2021, were burned alive.

        2.       Plaintiffs bring this suit to recover damages for the wrongful deaths of JMR and

JIR. The catastrophic damage and loss of life was preventable.

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        3.       Plaintiffs bring this civil action to recover damages within the jurisdictional limits

of this Court including all: (1) General Damages; (2) Special Damages; and (3) Exemplary

Damages under Texas law.

        4.       Defendants’ conduct constituted malice, oppression and fraud which disregarded

the lives and safety of others as well as negligence.

        5.       Plaintiffs bring claims fully set forth below asserting: (1) design defect; (2)

manufacturing defect; (3) strict liability; (4) negligence; (5) gross negligence; and (6) exemplary

damages.

        6.       Plaintiffs bring these claims against both Defendants.

        7.       There are approximately 278,000, vehicle fires annually. This is 17% of the total

number of fires nationally. The number of civilian deaths and injuries from vehicle fires in 2006

were approximately 490.1

        8.       This claim arises from a fire that engulfed the subject vehicle, a 2013 Chrysler 300,

that resulted in the death of JMR and JIR and burn injuries to Krista Ramos.

        9.       JMR and JIR died while both were buckled, locked and trapped in Baby Trend’s,

EZ Flex-loc Infant Car Seat, manufactured by Baby Trend, Inc.

                                                II.    PARTIES

        10.      Plaintiff, Krista Ramos brings this action individually, as the Next of Friend of JR,

and as the surviving parent of JMR and JIR. Plaintiffs bring this action for wrongful death as the

surviving parent pursuant to TEX. CIV. PRAC. & REM. CODE §71.002(a) §71.004(a)-(b), §71.021(b),

and all other applicable laws.


1
 National Fire Protection Association 556 Guide on Methods for Evaluating Fire Hazards to Occupants of Passenger
Road Vehicles §5.1.2 (2020).

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        11.      Plaintiff, Krista Ramos lives in Corpus Christi, Texas, and is subject to the

jurisdiction of this Court, and is deemed to be a resident of the State of Texas for purposes of venue

and jurisdiction.

        12.      Krista Ramos, as Next of Friend of JR, a minor plaintiff, lives in Corpus Christi,

Texas, and is subject to the jurisdiction of this Court, and is deemed to be a resident of the State

of Texas for purposes of venue and jurisdiction.

        13.      Decedents, JMR and JIR, both minors, lived in Corpus Christi, Texas and were both

residing there at the time of their deaths.

        14.      Defendant, Stellantis North American f/k/a FCA US f/k/a Chrysler Group, LLC

(hereinafter “Chrysler”), is a multinational automotive manufacturer with its headquarters in

Amsterdam, the Netherlands. It is organized and incorporated under the laws of Delaware, with its

principal place of business located at 1000 Chrysler Drive, Auburn Hills, Michigan 48326.

Chrysler may be served with process by serving its registered agent, The Corporation Company

located at 229 Brookwood Drive, Suite 14, South Lyon, Michigan 48178. On December 16, 2014,

the parent corporation of Chrysler, Fiat Chrysler Automobiles N.V., caused the name of the

Defendant Chrysler to be changed to “FCA US.” All acts and omissions of the Defendant as

described herein were done by its agents, servants, employees and/or owners, acting in the course

and scope of its respective agencies, services, employments and/or ownership.

        15.      Defendant, Baby Trend, Inc. (hereinafter “Baby Trend”), is organized and

incorporated under the laws of California, with its principal place of business located at 13048

Valley Blvd., Fontana, California 92335. Baby Trend may be served with process by serving its

registered agent, Shuyi Li at 13048 Valley Blvd., Fontana, California 92335. All acts and

omissions of the Defendant as described herein were done by its agents, servants, employees

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and/or owners, acting in the course and scope of its respective agencies, services, employments

and/or ownership.

                                   III.     JURISDICTION & VENUE

        16.      This Court has subject matter original jurisdiction through diversity of citizenship

pursuant to 28 U.S.C. §1332(a) because the Plaintiffs are citizens of Texas, the named Defendants

are citizens of different states and the amount in controversy exceeds the sum of value of

$75,000.00, exclusive of interest and costs.

        17.      This Court also has specific jurisdiction over all Defendants because they

purposefully availed themselves of the privilege of conducting business in the State of Texas and

established minimum contacts sufficient to confer jurisdiction over these Defendants, and the

assumption of jurisdiction over Defendants will not offend traditional notions of fair play and

substantial justice and is consistent with constitutional requirements of due process.

        18.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and 18 U.S.C.

§1965 (a) because a substantial part of the events or omissions giving rise to the claim occurred in

this District and each Defendant transacts business affairs and conducts activity that gave rise to

the claim of relief in this District.

                                IV.       FACTUAL BACKGROUND

        19.      On Saturday, March 6, 2021, Krista Ramos was driving from her home in Corpus

Christi, Texas to visit her family in Orange Grove, Texas.

        20.      Plaintiffs were all traveling in a Black 2013 Chrysler 300, four door sedan with

Texas license plate MVT1586. The subject vehicle’s vehicle identification number is

2C3CCAAG1DH588549.

        21.      Krista Ramos was traveling with three of her five children, JMR, JIR, and JR.

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           22.     JMR, a female, was born in 2020, in Nueces County, Texas. Her sister, JIR, was

also born in 2020, in Nueces County, Texas. They have another sister born on the same date who,

thankfully, was not in the car at the time of this tragic incident.

           23.     The father of JMR and JIR, passed away on December 28, 2019.

           24.     JMR, JIR, and JR were all seated in the rear of the vehicle.

           25.     JMR and JIR, 10-month-old twin girls, were both seated in rear facing Baby Trend,

EZ Flex-loc Infant Car Seats.




                                 Figure 1.2

           26.     Baby Trend sells products to retail stores and other distributors in the State of

Texas.

           27.     The Baby Trend seats were model: CS96A41A which were manufactured in China.

           28.     The seats were manufactured on or about November 5, 2019.

           29.     Their brother, JR, a 5-year-old boy, was seated in a booster between his sisters.

           30.     The weather was clear and road conditions were unremarkable.


2
    Image of Baby Trend, EZ Flex-loc Infant Car Seat.

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        31.      At approximately 12:36 p.m. on March 6, 2021, Krista Ramos’ Chrysler 300, left

the road. The next several minutes of March 6, 2021, would result in the horrific deaths of two

innocent infants, physical injuries, and a lifetime of severe mental and emotional damage.

        32.      Upon leaving the road, the subject vehicle broke through a roadside fence at 352

Jennifer Loop in Orange Grove, Texas. The property and the road are virtually level with each

other. As a result, there was no drop in elevation that would have caused any damage to the subject

vehicle upon leaving the road.

        33.      Some reports of the incident indicate that the driver, Krista Ramos, was involved

in a medical episode. No doubt, Defendants will attempt to blame Plaintiff for this incident. This

position is without merit because the cause of the fire is wholly unrelated to the manner and method

by which the car left the road and there was no significant change in the condition of the car when

it came to rest prior to the fire starting.

        34.      Plaintiffs’ damages are not the result of any acts, omissions or conduct of the

Plaintiff.




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                                      Figure 2.3

           35.      The car traveled across the front area of the property located at 352 Jennifer Loop

in Orange Grove, Texas and ultimately came to rest as a result of a minor collision with a pole

located on the East side of the property. 4

           36.      Suddenly and without warning, a fire started under the 2013 Chrysler 300 due to

the high dry grass on the property igniting from the heat generated by component parts on the

underside of the vehicle.

           37.      Upon information and belief, prior to the fire spreading into the passenger

compartment, the subject vehicle’s windows were up and all doors were shut.




3
    Field Diagram (not to scale) of Officer Zachary Sprouse from his report of March 8, 2021.
4
  While the word “collision” and/or “accident” have been used to describe this incident, the force of impact was so de
minims to be deemed irrelevant. Therefore, this case falls under National Fire Protection Association 556 Guide on
Methods for Evaluating Fire hazards to Occupants of Passenger Road Vehicles §5.1.3(2) - fires without collision
(2020).

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                                       Figure 3.5


           38.      Juan Galan and Pamela Galan, a married couple, are the owners of the property

located at 352 Jennifer Loop in Orange Grove, Texas. As good Samaritans, they responded to the

scene within seconds of the incident and attempted to render aid to Plaintiffs.

           39.      Krista Ramos and JR were able to exit the subject vehicle with the assistance of the

good Samaritans present at the scene.

           40.      The good Samaritans were unable to access the babies through the back doors of

the car, therefore, they attempted to remove the babies by accessing the passenger compartment

via the front door of the car and reaching over the front seats.



5
    Still from video taken by Pamela Galan during fire on March 6, 2021.

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          41.    Juan Galan, one of the good Samaritans, tried to remove the infants who were

trapped in the back seat of the burning car. He was able to release the chest clip on one of the infant

car seats behind the passenger seat, but the Baby Trend, EZ Flex-loc Infant Car Seat center lock

was stuck and would not unbuckle.

          42.    Additionally, the base release handle on the Baby Trend, EZ Flex-loc Infant Car

Seat was located at the foot of the seat, therefore, was not readily accessible or visible to Juan

Galan during his efforts to remove the babies from the car.

          43.    Juan Galan had to abandon his efforts to save the JMR and JIR when the fire entered

the passenger compartment from the luggage compartment and began burning his face.

          44.    At approximately 12:44 p.m. firefighters arrived at the scene. Two units (301 and

310) from the Orange Grove Fire Department used water and fire-fighting foam to suppress the

fuel vapors that were present in the fire.

          45.    At the time the car came to rest, all passengers were properly seated, and seat belted

in the car. Krista Ramos was properly seated, and seat belted in the driver’s seat. JMR and JIR

were both securely restrained in their Baby Trend, EZ Flex-loc Infant Car Seats.

          46.    Consumed by the fire engulfing the Chrysler 300, JMR and JIR suffered extreme

and conscious shock, terror, fright, physical, mental pain and suffering up until the time of their

deaths.

          47.    JMR and JIR both died on the scene from injuries caused by the fire.

          48.    Several witnesses saw JMR and JIR trapped in their car seats as the fire from the

car burned them alive. Among these witnesses were the twins’ mother, Krista Ramos and five-

year-old brother, JR who stood helplessly in close proximity to the vehicle.



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           49.     JMR and JIR were so badly burned by the fire that the funeral home required the

assistance of the fire fighters to remove them from the car.




                                       Figure 4.6

           50.     The subsequent postmortem examination of JMR stated that the cause of death was

“extensive thermal burns of the third and fourth degree covering over 97% of the total body surface

area.”7

           51.     The subsequent postmortem examination of JIR stated that the cause of death was

“external thermal burns of third and fourth degree covering head, face, trunk, and extremities

involving over 95% of the total body surface area.”8

           52.     Defendant Chrysler designed, manufactured, distributed, marketed and sold the

subject 2013 Chrysler 300.




6
    Photos taken by Pamela Galan during the removal of the remains of JIR and JMR on March 6, 2021.
7
    Nueces County Medical Examiner Report of Postmortem Examination for JMR from March 8, 2021.
8
    Nueces County Medical Examiner Report of Postmortem Examination for JIR from March 8, 2021.

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        53.      The Chrysler vehicle at issue exhibited several defects that violated common-sense

consumer expectations, as well as safety industry practices including but not limited to the size,

location, design, and orientation of the subject vehicles rear ventilation flaps. As a result of the

design, manufacture, and marketing of the vehicle, it was not crashworthy in that an otherwise

survivable incident became deadly.

        54.      Defendant Baby Trend designed, manufactured, distributed, marketed and sold the

subject EZ Flex-loc Infant Car Seat.

        55.      The design, manufacture and instructions of the Baby Trend products at issue in

this case exhibited several defects that violated common-sense consumer expectations, as well as

requirements and child safety industry practices. As a result of the design, manufacture, and

marketing defects of the car seats, they became deadly traps in a foreseeable post-accident fire.

        56.      Defendants are jointly and severally liable for those injuries caused to JMR and JIR

and/or for the death of JMR and JIR to the extent the jury finds the injuries and or death were

proximately caused by the wrongdoing of the Defendants.

                                    V.          CAUSES OF ACTION

          COUNT 1: CHRYSLER – PRODUCTS LIABILITY – DESIGN DEFECT

        57.      All of the allegations contained in the previous paragraphs are realleged herein.

        58.      The Chrysler 300 that Krista Ramos was driving was originally designed,

manufactured, and sold by Defendant Chrysler. At the time the vehicle in question was sold,

Defendant was in the business of designing, manufacturing, selling, and/or otherwise placing

vehicles, such as the one in question, in the stream of commerce.

        59.      At the time the vehicle in question was designed, manufactured and sold by

Defendant it was defective in design and unreasonably dangerous. The defective and unreasonably

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dangerous condition of the vehicle in question was a direct and proximate cause of the injuries to

Plaintiffs.

        60.      The vehicle reached Plaintiffs in the condition expected and intended by

Defendants.

        61.      Plaintiffs used the vehicle for its intended and foreseeable purpose.

        62.      The defects regarding the subject vehicle include but are not limited to the danger

posed by the design of the vehicle.

        63.      Safer alternative designs existed other than the one used, which were economically

and technologically feasible and would have prevented or significantly reduced the risk of accident

and/or injury in question without substantially impairing the vehicle's utility.

        64.      Further, at the time the vehicle in question was sold, the defective design caused

the product to unexpectedly fail to function in a manner reasonably expected by an ordinary

consumer. The defective and unreasonably dangerous design of the vehicle was a producing cause

of Plaintiffs’ injuries.

        65.      At the time of the incident, the vehicle was in the same or substantially similar

condition as it was at the time when it left Defendants’ control and was placed into the stream of

commerce.

        66.      No mandatory safety standards or regulations adopted and promulgated by the

federal government or an agency of the federal government were applicable to the 2013 Chrysler

300 at the time it was manufactured that governed any product risk that caused the accident and/or

injuries to Plaintiffs. To the extent Defendants attempt, pursuant to §82.008 of the TEX. CIV. PRAC.

& REM. CODE, to rely on any standards or regulations of the federal government, such standards

or regulations were inadequate to protect against the risk of accident and/or injuries that occurred

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in this incident and/or Defendants withheld or misrepresented information to the government

regarding the adequacy of the safety standard at issue.

        67.      As a result of the design defects, the fire spread into the passenger compartment at

a rate that prevented the occupants from safely exiting the vehicle unharmed in this otherwise

survivable event.

        68.      As a result of Defendants’ conduct, Plaintiffs have been damaged and continue to

sustain damages in an amount to be determined by a jury but in an amount exceeding $75,000.00,

as a direct and proximate result of the Defendant’s conduct.

  COUNT 2: CHRYSLER – PRODUCTS LIABILITY – MANUFACTURING DEFECT

        69.      All of the allegations contained in the previous paragraphs are realleged herein.

        70.      The vehicle Krista Ramos was driving was originally designed, manufactured, and

sold by Defendant. At the time the vehicle in question was sold, Defendant was in the business of

designing, manufacturing, selling, and/or otherwise placing vehicle and/or seatbelt components,

such as those in question, in the stream of commerce.

        71.      The vehicle reached Plaintiffs in the condition expected and intended by Defendant.

        72.      Plaintiffs used the vehicle for its intended and foreseeable purpose.

        73.      When it left control of Defendant, defects in the manufacture of the vehicle and/or

components rendered it defective and unreasonably dangerous in that it had a defect that was prone

to fail in a foreseeable accident.

        74.      The defective manufacture of the vehicle directly and proximately caused

Plaintiffs’ injuries, damages and deaths.

        75.      As a result of Defendants’ conduct, Plaintiffs have been damaged and continue to

sustain damages in an amount to be determined by a jury but in an amount exceeding $75,000.00,

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as a direct and proximate result of the Defendants’ conduct.

                           COUNT 3: CHRYSLER – STRICT LIABILITY

        76.      All of the allegations contained in the previous paragraphs are realleged herein.

        77.      The vehicle Krista Ramos was driving was originally designed, manufactured, and

sold by Defendant Chrysler. At the time the vehicle in question was sold, Defendant was in the

business of designing, manufacturing, testing, assembling, monitoring, selling, and/or otherwise

placing vehicles and/or seatbelt components into the stream of commerce, including the subject

vehicle and its defective condition which was the proximate cause of the subject incident.

        78.      The vehicle reached Plaintiffs in the condition expected and intended by Defendant.

        79.      Plaintiffs used the vehicle for its intended and foreseeable purpose.

        80.      Due to the vehicle’s design and manufacture, the vehicle was not reasonably

crashworthy; JMR and JIR were trapped inside and killed. The failure to appropriately design and

construct the vehicle, which caused the vehicle’s internal failure, were the direct and proximate

cause of Plaintiffs’ injuries and damages. As such, Defendant should be held strictly liable.

        81.      Defendant placed the defective vehicle into the stream of commerce and expected

or could reasonably foresee the use of said vehicle by individuals, such as Plaintiffs, in the

condition in which the subject vehicle was designed, manufactured and sold.

        82.      The subject vehicle was designed, manufactured and assembled so that the

defective condition was undiscoverable until such time as an accident occurred.

        83.      The defective condition of the subject vehicle was not observable by Plaintiffs, who

relied upon Defendant to design, test, manufacture, sell and deliver the subject vehicle in a

condition fit for use for the purposes intended.



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        84.      As a direct and proximate result of the failure of Defendant to properly design, test,

manufacture, sell and deliver the subject vehicle, JMR and JIR were killed.

        85.      As a result of Defendants’ conduct, Plaintiffs have been damaged and continue to

sustain damages in an amount to be determined by a jury but in an amount exceeding $75,000.00,

as a direct and proximate result of the Defendants’ conduct.

                              COUNT 4: CHRYSLER – NEGLIGENCE

        86.      All of the allegations contained in the previous paragraphs are realleged herein.

        87.      Defendant Chrysler committed acts of omission and commission, which

collectively and severally constituted negligence, and that negligence proximately caused

Plaintiffs’ injuries and Plaintiffs’ damages.

        88.      Defendants’ acts or omissions constituting negligence include,

                        (a) failing to properly design the vehicle;

                        (b) failing to properly manufacture the vehicle;

                        (c) failing to adequately test the vehicle;

                        (d) failing to recall the vehicle or, alternatively, to warn consumers of a

                            known danger/defect in the vehicle;

                        (e) failing to disclose post-sale information known about dangers or defects

                            in the vehicle;

                        (f) concealing known dangers associated with the vehicle;

                        (g) failing to meet or exceed internal corporate guidelines;

                        (h) failing to comply with the standards of care applicable in the automotive

                            industry concerning crash worthiness; and



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                        (i) failing to design the product so the passenger compartment would

                            adequately protect the occupants during a foreseeable accident.

        89.      As a result of Defendants’ conduct, Plaintiffs have been damaged and continue to

sustain damages in an amount to be determined by a jury but in an amount exceeding $75,000.00,

as a direct and proximate result of the Defendant’s conduct.

                         COUNT 5: CHRYSLER – GROSS NEGLIGENCE

        90.      All of the allegations contained in the previous paragraphs are realleged herein.

        91.       Defendants committed gross negligence, which was a proximate cause of the

deaths of JMR and JIR, and for which Plaintiffs are entitled to recover punitive damages.

Defendants acted with conscious disregard to the rights, safety and welfare of Plaintiffs and other

users by refusing to incorporate feasible safety features into the vehicle.

        92.      As a result of Defendants’ conduct, Plaintiffs have been damaged and continue to

sustain damages in an amount to be determined by a jury but in an amount exceeding $75,000.00,

as a direct and proximate result of the Defendant’s conduct.

                       COUNT 6: CHRYSLER – EXEMPLARY DAMAGES

        93.      All of the allegations contained in the previous paragraphs are realleged herein.

        94.      Because Defendant is liable for gross negligence, punitive damages should be

assessed against them, as a deterrent to such future bad conduct and as a punishment for their bad

acts, in an amount to be determined by the jury.

        95.      As a result of Defendants’ conduct, Plaintiffs have been damaged and continue to

sustain damages in an amount to be determined by a jury but in an amount exceeding $75,000.00,

as a direct and proximate result of the Defendants’ conduct.



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         COUNT 7: BABY TREND – PRODUCTS LIABILITY – DESIGN DEFECT

        96.      All of the allegations contained in the previous paragraphs are realleged herein.

        97.      The car seats JIR and JMR were seated in were originally designed, manufactured,

and sold by Defendant Baby Trend. At the time the seats in question were sold, Defendant was in

the business of designing, manufacturing, selling, and/or otherwise placing car seats, such as the

ones in question, in the stream of commerce.

        98.      The car seats in question were defective in design and unreasonably dangerous at

the time Defendant designed, manufactured, and sold them. The defective and unreasonably

dangerous condition of the car seats in question was a direct and proximate cause of the injuries to

Plaintiffs.

        99.      The car seats reached Plaintiffs in the condition expected and intended by

Defendants.

        100.     Plaintiffs used the car seats for their intended and foreseeable purpose.

        101.     The defects regarding the subject car seats include but are not limited to the danger

posed by the design of the center buckle and base release handle.

        102.     Safer alternative designs existed other than the one used, which were economically

and technologically feasible and would have prevented or significantly reduced the risk of accident

and/or injury in question without substantially impairing the car seats’ utility.

        103.     Further, at the time the car seats in question were sold, the defective design caused

the product to unexpectedly fail to function in a manner reasonably expected by an ordinary

consumer. The defective and unreasonably dangerous design of the car seats was a producing cause

of Plaintiffs’ injuries.



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        104.     At the time of the incident, the car seats were in the same or substantially similar

condition as they were at the time when it left Defendant’s control and was placed into the stream

of commerce.

        105.     As a result of Defendants’ conduct, Plaintiffs have been damaged and continue to

sustain damages in an amount to be determined by a jury but in an amount exceeding $75,000.00,

as a direct and proximate result of the Defendants’ conduct.

 COUNT 8: BABY TREND – PRODUCTS LIABILITY – MANUFACTURING DEFECT

        106.     All of the allegations contained in the previous paragraphs are realleged herein.

        107.     The car seats JIR and JMR were seated in were originally designed, manufactured,

and sold by Defendant Baby Trend. At the time the seats in question were sold, Defendant was in

the business of designing, manufacturing, selling, and/or otherwise placing car seats, such as the

ones in question, in the stream of commerce.

        108.     The car seats reached Plaintiffs in the condition expected and intended by

Defendant.

        109.     Plaintiffs used the car seats for their intended and foreseeable purpose.

        110.     When they left control of Defendant, defects in the manufacture of the car seats

and/or components rendered them defective and unreasonably dangerous in that they had defects

that made the car seats prone to fail in a foreseeable accident. Specifically, the defects made it

impossible to remove the children from the seats, and therefore the car, in the face of an emergency.

        111.     The defective manufacture of the car seats directly and proximately caused

Plaintiffs’ injuries, damages and deaths.

        112.     As a result of Defendants’ conduct, Plaintiffs have been damaged and continue to

sustain damages in an amount to be determined by a jury but in an amount exceeding $75,000.00,

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as a direct and proximate result of the Defendants’ conduct.

                         COUNT 9: BABY TREND – STRICT LIABILITY

        113.     All of the allegations contained in the previous paragraphs are realleged herein.

        114.     The car seats JIR and JMR were seated in were originally designed, manufactured,

and sold by Defendant Baby Trend. At the time the seats in question were sold, Defendant was in

the business of designing, manufacturing, selling, and/or otherwise placing car seats, such as the

ones in question, in the stream of commerce.

        115.     At the time the car seats in question were designed, manufactured and sold by

Defendant they were defective in design and unreasonably dangerous. The defective and

unreasonably dangerous condition of the car seats in question was a direct and proximate cause of

the injuries to Plaintiffs.

        116.     The car seats reached Plaintiffs in the condition expected and intended by

Defendant.

        117.     Due to the car seats’ design and manufacture, the car seats were not reasonably

crashworthy; JMR and JIR were trapped inside and killed. The failure to appropriately design and

construct the car seats, was the direct and proximate cause of Plaintiffs’ injuries and damages. As

such, Defendant should be held strictly liable.

        118.     Defendant placed the defective car seats into the stream of commerce and expected

or could reasonably foresee the use of said car seats by individuals, such as Plaintiffs, in the

condition in which the subject car seats were designed, manufactured, and sold.

        119.     The subject car seat was designed, manufactured, and assembled so that the

defective condition was undiscoverable until such time as an accident occurred.



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        120.     The defective condition of the subject car seat was not observable by Plaintiffs,

who relied upon Defendants to design, test, manufacture, sell, and deliver the subject car seat in a

condition fit for use for the purposes intended.

        121.     As a direct and proximate result of the failure of Defendants to properly design,

test, manufacture, sell, and deliver the subject car seats, JMR and JIR were killed.

        122.     As a result of Defendants’ conduct, Plaintiffs have been damaged and continue to

sustain damages in an amount to be determined by a jury but in an amount exceeding $75,000.00,

as a direct and proximate result of the Defendants’ conduct.

                            COUNT 10: BABY TREND– NEGLIGENCE

        123.     All of the allegations contained in the previous paragraphs are realleged herein.

        124.     Defendant Baby Trend committed acts of omission and commission, which

collectively and severally constituted negligence, and that negligence proximately caused

Plaintiffs’ injuries and Plaintiffs' damages.

        125.     Defendant’s acts or omissions constituting negligence include:

                 (a) failing to properly design the car seat;

                 (b) failing to properly manufacture the car seat;

                 (c) failing to adequately test the car seat;

                 (d) failing to recall the car seat or, alternatively, to warn consumers of a known

                      danger/defect in the car seat;

                 (e) failing to disclose post-sale information known about dangers or defects in the

                      car seat;

                 (f) concealing known dangers associated with the car seat;

                 (g) failing to meet or exceed internal corporate guidelines;

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                 (h) failing to design the product so its seat belt assembly system would adequately

                      protect the babies during and after a foreseeable accident.

        126.     As a result of Defendant’s conduct, Plaintiffs have been damaged and continue to

sustain damages in an amount to be determined by a jury but in an amount exceeding $75,000.00,

as a direct and proximate result of the Defendant’s conduct.

                       COUNT 11: BABY TREND – GROSS NEGLIGENCE

        127.     All of the allegations contained in the previous paragraphs are realleged herein.

        128.      Defendant Baby Trend committed gross negligence, which was a proximate cause

of the deaths of JMR and JIR, and for which Plaintiffs are entitled to recover punitive damages.

Defendant acted with conscious disregard to the rights, safety and welfare of Plaintiffs and other

users by refusing to incorporate feasible safety features into the car seats.

        129.     As a result of Defendant’s conduct, Plaintiffs have been damaged and continue to

sustain damages in an amount to be determined by a jury but in an amount exceeding $75,000.00,

as a direct and proximate result of the Defendant’s conduct.

                     COUNT 12: BABY TREND – EXEMPLARY DAMAGES

        130.     All of the allegations contained in the previous paragraphs are realleged herein.

        131.      Because Defendant Baby Trend is liable for gross negligence, punitive damages

should be assessed against it as a deterrent to such future bad conduct and as a punishment for their

bad acts, in an amount to be determined by the jury.

        132.     As a result of Defendant’s conduct, Plaintiffs have been damaged and continue to

sustain damages in an amount to be determined by a jury but in an amount exceeding $75,000.00,

as a direct and proximate result of the Defendant’s conduct.



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                                    VI.     RESERVATION OF RIGHTS

        133.     Plaintiffs reserve the right to prove the amount of damages at trial. Plaintiffs reserve

the right to amend its Petition to add or remove counts upon further discovery and as its

investigation continues.

                                            VII.     JURY DEMAND

        134.     Pursuant to Federal Rule of Civil Procedure 38(c), Plaintiffs hereby requests that

all causes of action alleged herein be tried before a properly impaneled jury.

                              VIII. PRAYER FOR RELIEF – DAMAGES

        135.     The conduct of the Defendants, as alleged hereinabove, was a direct, proximate

and producing cause of the damages to Plaintiffs and of the following general and special

damages including:

                 (a) Damages to punish Defendants for proximately causing physical pain and

                      mental anguish sustained by JMR;

                 (b) Physical pain and mental anguish sustained by JMR;

                 (c) The untimely and wrongful death of JMR;

                 (d) Damages to punish Defendants for proximately causing physical pain and

                      mental anguish sustained by JIR;

                 (e) Physical pain and mental anguish sustained by JIR;

                 (f) The untimely and wrongful death of JIR;

                 (g) Bystander damages for the mental anguish sustained by JR as he personally

                      witnessed the death of his sisters;

                 (h) Bystander damages for the mental anguish sustained by Krista Ramos as she

                      personally witnessed the death of her daughters;

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                 (i) Physical pain and mental anguish sustained by Krista Ramos;

                 (j) Special damages for all expenses, funeral expenses and property damage

                      incurred on behalf of Plaintiffs;

                 (k) Loss of consortium sustained by Krista Ramos for the wrongful death of JMR;

                 (l) Loss of consortium sustained by Krista Ramos for the wrongful death of JIR;

                 (m) Enter judgement against Defendants, jointly and severally, awarding Plaintiff

                      damages in an amount to be determined at trial and their costs and reasonable

                      attorney’s fees including, compensatory damages in an amount sufficient to

                      fairly and completely compensate it for all damages; and

                 (n) Special damages for all medical expenses, funeral expenses and property

                      damage incurred on behalf of Plaintiffs;

                 (o) punitive damages; and

                 (p) attorney’s fees; and

                 (q) prejudgment and post judgment interest, costs, and disbursements;

                 (r) Any and all other recoverable personal injury, survival, and/or wrongful death

                      damages for Decedent and Decedent’s heirs; and

                 (s) such and further relief at law or in equity as this Court may deem just and

                      appropriate.

        WHEREFORE, PREMISES CONSIDERED, Plaintiffs demand that the Defendants be

cited to appear and answer herein. Upon final judgment against the Defendants, and each of them,

jointly and severally, awarding Plaintiffs damages in an amount to be determined at trial and their

costs and reasonable attorney’s fees including, compensatory damages in an amount sufficient to

fairly and completely compensate it for all damages listed herein and such and further relief at law

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or in equity as this Court may deem just and appropriate.


Dated: May 21, 2021                               Respectfully submitted,

                                                  GRIFFIN PURNELL LLC

                                                  By: /s/ Simon B. Purnell
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                                                  Attorneys for Plaintiffs



                                      CERTIFICATE OF SERVICE

        The undersigned certifies that on this 21st day of May, 2021, a true and correct copy of the
foregoing document was filed electronically with the Court’s ECF system for service to all counsel
of record.

                                                  GRIFFIN PURNELL LLC

                                                  By: /s/ Simon B. Purnell




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